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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE
POWER INTEGRATIONS, INC.,
a Delaware corporation,

                     Plaintiff,
                                                C.A. No. 1:22-cv-1554-CFC
       v.
                                                JURY TRIAL DEMANDED
WAVERLY LICENSING LLC,
MAVEXAR LLC, ARRAY IP LLC, and
IP EDGE LLC,

                    Defendants.


            FIRST AMENDED COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff Power Integrations, Inc. hereby alleges as follows:

                                         THE PARTIES

       1.     Power Integrations, Inc. (“Power Integrations” or “PI”) is incorporated under the

laws of the state of Delaware, and has a regular and established place of business at 5245 Hellyer

Avenue, San Jose, California 95138.

       2.     Upon information and belief, defendant Waverly Licensing LLC (“Waverly”) is a

limited liability company that claims to be organized and existing under the laws of the State of

Texas with its principal place of business at 3333 Preston Road, Suite 300, Frisco, Texas 75034;

defendant Array IP LLC (“Array IP”) is a limited liability company organized and existing under

the laws of the State of Texas with its principal place of business at 3333 Preston Road, Suite

300, Frisco, Texas 75034; defendant Mavexar LLC (“Mavexar”) is a limited liability company

organized and existing under the laws of the State of Texas with its principal place of business at

2150 S Central Expressway, Suite 200, McKinney, TX 75070; and defendant IP Edge LLC (“IP

Edge”) is a limited liability company organized and existing under the laws of the State of Texas
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with its principal place of business at 5300 N Braeswood Blvd, Suite 4, Houston, TX 77096

(collectively, “Defendants”).

                                  GENERAL ALLEGATIONS

       3.     Plaintiff Power Integrations is a semiconductor company based in San Jose,

California. For the last 30 years, Power Integrations has been the leading developer and supplier

of the chips that make modern power supplies—used to charge phones and other products—

smaller, lighter, and more energy efficient.

       4.     Power Integrations’ products include its InnoSwitch™ families of power

conversion integrated circuit devices, which are used by others in manufacturing power supplies

for ultimate use by still others with electronic devices such as cellular telephones, LCD monitors,

and computers. The InnoSwitch™ Family of ICs combines primary, secondary and feedback

circuits in a single surface-mounted off-line flyback switcher IC. The InnoSwitch IC

incorporates a high-voltage primary-side switch, a primary-side controller, a secondary-side

controller for synchronous rectification, and an innovative new FluxLink™ technology that

eliminates the need for an optocoupler.

       5.     Defendants have engaged in a broad and aggressive campaign to harass and

threaten many companies, including Power Integrations, with assertions of patent infringement

liability, including assertions based on use of Power Integrations’ InnoSwitch ICs. As such, an

actual controversy between the parties exists within the jurisdiction of this Court under 28 U.S.C.

§§ 2201 and 2202.

       6.     Defendants’ actions have not been limited to mere threats, but also include actual

initiation of patent infringement litigation against Power Integrations. On October 31, 2022,

Defendant Waverly Licensing LLC filed a lawsuit for patent infringement against Power




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Integrations in the U.S. District Court for the Western District of Texas (“the Waverly-PI

Complaint”). A true and correct copy of the Waverly-PI Complaint is attached as Exhibit B.

       7.     The Waverly-PI Complaint alleges that Waverly is a limited liability company

organized and existing under the laws of the State of Texas with its principal place of business at

3333 Preston Road, Suite 300, Frisco, Texas 75034. The Waverly-PI Complaint further alleges

that Waverly is the owner and assignee of U.S. Patent No. 10,938,246 (“the ’246 patent”),

entitled “Method and Apparatus for Charging a Battery-Operated Device,” and identifies one of

Power Integrations’ InnoSwitch ICs as a basis for the infringement allegations. (Ex. B at ¶¶ 8-9,

19.) A true and correct copy of the ’246 patent is attached as Exhibit A.


       THE HISTORY OF WAVERLY’S ASSERTION OF THE PATENT-IN-SUIT
                     VIA IP EDGE-RELATED ACTIVITY

       8.     On information and belief, the ’246 patent was assigned from the original named

inventors at Golba, LLC to Array IP LLC on July 15, 2021 (along with other patents in the same

patent family). (See Ex. C – assignment to Array/IP Edge.)

       9.     In an assignment filed with the U.S. Patent and Trademark Office for the ’246

patent, defendant Array IP LLC identified itself as having the same address that defendant

Waverly Licensing LLC lists in the Waverly-PI complaint as its principal place of business

(3333 Preston Road, Suite 300, Frisco, Texas 75034). (Id.) However, that address is actually a

Staples store, as indicated in the true and correct photos of that address reproduced below.




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       10.    Moreover, the specific box number that defendant Waverly occasionally lists in its

court filings as its “principal place of business” within that “suite” is an open shelf, as shown in

the true and correct photo of that address reproduced below. See, e.g., D. Del. C.A. No. 1:22-cv-

420-CFC, D.I. No. 17 (Waverly Amended Complaint against AT&T, listing Waverly’s principal

place of business as “3333 Preston Road STE 300 #1095, Frisco, TX 75034” (emphasis added)).




       11.    In another of its recent lawsuits asserting the ’246 patent, Waverly listed a

different sham principal place of business from the one identified in this case. Specifically, in its

November 28, 2022 complaint against Aukey, LLC filed in the Central District of California

(C.D. Cal. 2:22-cv-8642-CAS-MAA), Waverly listed its principal place of business as “6001

West Parmer Lane, Suite 370-1165, Austin, Texas 78727.” (Ex. G at ¶ 1.) But “Suite 370” at

6001 West Parmer Lane in Austin, Texas is actually a business called “PostalAnnex+” that

serves as a FedEx/UPS ship center and P.O. box rental facility, as shown below in the true and

correct copy of photographs of the storefront and mailboxes found at that address:


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       12.    Waverly’s complaint against Aukey is not the only place where Waverly has

provided inconsistent information regarding its business and operations in filings with the

District Courts throughout the United States. Despite identifying itself as a Texas Limited

Liability Corporation in its complaint against Power Integrations, in Waverly’s complaint


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asserting the same ’246 patent-in-suit against IOGEAR, Inc. in the Central District of California,

Waverly pleaded that it was “a limited liability company organized and existing under the laws

of the State of California.” (Ex. H at ¶ 1.)1 In Waverly’s complaint asserting the same ’246

patent-in-suit against National Products in the Western District of Washington, Waverly pleaded

that it was “organized and existing under the laws of the State of Washington” and that its

“principal place of business” was in the state of Washington. (Ex. I at ¶ 1.) In Waverly’s

complaint asserting the same ’246 patent-in-suit against Phihong in the Eastern District of New

York, Waverly pleaded that it was “organized and existing under the laws of the State of New

York” and that its principal place of business was in the state of New York.2 (Ex. J at ¶ 1.)

       13.    In the initial assignment from Golba, LLC to Array IP LLC, Array IP LLC’s

principal identified her e-mail address as linhd@ip-edge.com. (Ex. C at 2.) On information and

belief, the same person whose e-mail address was listed in the PTO records as the contact for

defendant Array IP LLC, Ms. Linh Deitz, is the office manager at defendant IP Edge LLC.

(Ex. D – LinkedIn profile for Ms. Deitz.)

       14.    On information and belief, defendant Array IP LLC subsequently assigned some

rights to the ’246 patent to defendant Waverly Licensing LLC. (Ex. E – assignment to Waverly.)

       15.    Notably, defendant Array IP LLC also assigned some rights to another patent in

the same family as the ’246 patent to a separate entity, Creekview IP LLC (“Creekview”),

including at least U.S. Patent No. 9,608,472 (“the ’472 patent”). Creekview has been asserting



1
    Waverly’s complaint against IOGEAR also identifies the Austin Texas mailbox noted in the
    prior paragraph as its “principal place of business,” contrary to Waverly’s complaint against
    Power Integrations.
2
    Notably, other than the various states Waverly listed for its “principal place of business” in
    its complaints against Phihong and National Products, the addresses in those complaints
    otherwise match the mail drop located within the Staples store in Frisco, Texas that Waverly
    identified in other complaints, as noted above. (See Ex. I at ¶ 1; Ex. J at ¶ 1.)


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the ’472 patent in at least this District, including in six lawsuits filed in this District since

November 2021. See D. Del. C.A. Nos. 21-cv-1685-CFC (v. Corsair Gaming); 21-cv-1686-CFC

(v. Belkin); 22-cv-425-CFC (v. Best Buy); 22-cv-426-CFC (v. Jabra); 22-cv-427-CFC (v.

Skullcandy); 22-cv-428-CFC (v. Zound).

        16.    On information and belief, and according to testimony given in open court in

Delaware earlier this year during hearings in front of Chief Judge Connolly, defendants Mavexar

LLC and IP Edge control litigation on behalf of entities affiliated with IP Edge, with the named

plaintiff LLCs and their sole members having no input or control over the litigation and

receiving only a token percentage of any settlement revenue. Moreover, in a November 30, 2022

filing by Waverly in another of Waverly’s lawsuits asserting the ’246 patent-in-suit (C.D. Cal.

2:22-cv-8642-CAS-MAA, D.I. 10), Waverly acknowledged Mavexar LLC as an interested party

who “may have a pecuniary interest in the outcome of this case.” (Ex. F.) As such, on

information and belief, the true owners of the ’246 patent-in-suit and the related rights to sue are

IP Edge and/or its affiliates, including Mavexar LLC and Array IP LLC – not Waverly

Licensing.

        17.    IP Edge’s scheme for enforcing patents with the assistance of Mavexar LLC

through its affiliates incorporated via Texas LLCs formed with unwitting sole members includes

not only defendant Waverly Licensing, but also Creekview, Nimitz Licensing LLC, and many of

the other 200+ patent enforcement entities affiliated with IP Edge who are involved in the

4,000+ lawsuits filed by IP Edge-affiliated entities since the founding of IP Edge in 2015. See

https://insight.rpxcorp.com/entity/1034412-ip-edge-llc. Given that the structure of IP Edge and

Mavexar’s enforcement entities via sole, sham members effectively “judgment proofs” the real

parties in interest, and that IP Edge is using these sole member LLCs in an attempt to insulate




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itself from any liability for the frivolous assertion of patents and to hide the true parties behind

the litigation while effectively controlling the litigation through Mavexar, IP Edge is a real party

in interest in this litigation and is properly a named defendant in this DJ action, along with its

intermediaries Array IP and Mavexar.

                 THE COMPLAINT AGAINST POWER INTEGRATIONS

       18.    According to the Waverly-PI Complaint, Power Integrations allegedly “makes,

sells, advertises, offers for sale, uses, or otherwise provides battery chargers and adapters

covered by the Waverly Patents, including the National Products RAM Tough-Case Power

Delivery Bundle for Samsung Tab Active3.” (Ex. B at ¶ 19.) But National Products is the

named defendant in another of Waverly’s lawsuits asserting the ’246 patent (WDWA C.A.

No. 22-cv-1532). National Products is not a named defendant in the Waverly-PI suit. It appears

that Waverly’s complaint against PI inaccurately includes information from a wholly-separate

lawsuit instead of anything specific to PI.

       19.    Although the Waverly-PI Complaint identifies “battery chargers and adapters”,

including the specific identification of a product of some other company (National Products), the

infringement allegations of the Waverly-PI Complaint also cite to and rely upon materials that

describe Power Integrations’ InnoSwitch3-PD integrated circuit products; for example, the

Waverly-PI Complaint includes excerpts from Power Integrations’ webpages and design

examples describing the InnoSwitch3-PD and its capabilities for being used in USB-compliant

power supplies. (E.g., Ex. B at ¶ 19.)

       20.    In light of the specific allegations of the Waverly-PI Complaint, a substantial

controversy exists between parties with adverse legal interests of sufficient immediacy and




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reality to warrant the issuance of a declaratory judgment. Accordingly, an actual controversy

within this Court’s jurisdiction exists under 28 U.S.C. § 2201.

                                  JURISDICTION AND VENUE

        21. This action arises under the United States patent laws, 35 U.S.C. §§ 101, et seq., and

includes a request for declaratory relief under 28 U.S.C. §§ 2201 and 2202. This Court has

subject matter jurisdiction under 28 U.S.C. §§ 1331, 1338, and 2201, and 35 U.S.C. § 1, et seq.
        22.    Upon information and belief, this Court has personal jurisdiction over Defendants

because Defendants have purposely availed themselves of the privilege of conducting activities

within this State and judicial District. For example, Defendants have availed themselves of the

use of this District’s courts in asserting their patent rights in numerous lawsuits filed in this

District listing Waverly as Plaintiff, including numerous lawsuits asserting the same ’246 patent-

in-suit in this case. See D. Del. C.A. Nos. 22-cv-420-CFC (v. AT&T); 22-cv-421-CFC (v.

Fantasia Trading); 22-cv-422-CFC (v. Granite River); 22-cv-423-CFC (v. Leviton Mfg.); 22-cv-

424 (v. Otter Products); 22-cv-889-CFC (v. Monolithic Power Systems). As noted above,

Defendants IP Edge, Mavexar, and Array IP have also availed themselves of the use of this

District’s courts in asserting their patent rights in numerous lawsuits filed in this District listing

Creekview IP LLC as Plaintiff, including numerous lawsuits asserting another patent, U.S. Patent

No. 9,608,472, which is in the same family as the patent-in-suit in this case.

        23.    The Court also has general personal jurisdiction over Defendants IP Edge and

Mavexar at least because of their continuous and systematic contacts within this District,

including conducting substantial and regular business therein through their extensive litigation

campaigns (and the attendant nuisance settlement and licensing agreements with their targets) in

this District, as further noted above.




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       24.    Upon information and belief, Defendants have derived substantial revenue from

their litigation campaigns in this District over the years, even though their lawsuits all seek to

extract nuisance value settlements that are far below the cost of litigating these patent cases.

       25.    The Court also has specific personal jurisdiction over Defendants because of their

purposeful litigation misconduct against Power Integrations, a Delaware resident.

       26.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b), 1391(c),

and 1400(b) because, in part, Defendants conduct and have regularly conducted business in this

judicial district and are subject to personal jurisdiction in this District, and/or because a

substantial part of the events or omissions giving rise to this action occurred in this judicial

district, and/or because Plaintiff is a resident of the state of Delaware through its incorporation

under the laws of this state who has been accused of patent infringement.

                                   FIRST CAUSE OF ACTION

                 DECLARATORY JUDGMENT OF NONINFRINGEMENT
                         OF U.S. PATENT NO. 10,938,246

       27.    The facts and allegations of paragraphs 1-26 are incorporated by reference for this

First Cause of Action as though fully set forth herein.

       28.    The ’246 patent is asserted against Power Integrations in the Waverly-PI

Complaint, which relies on citations to information from Power Integrations’ website about its

InnoSwitch3-PD product.

       29.    The Waverly-PI Complaint does not expressly assert that the InnoSwitch3-PD

itself infringes any claims of the ’246 patent. Rather, according to the Waverly-PI Complaint,

Power Integrations allegedly “makes, sells, advertises, offers for sale, uses, or otherwise provides

battery chargers and adapters covered by the Waverly Patents, including the National Products




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RAM Tough-Case Power Delivery Bundle for Samsung Tab Active3, as represented below,

including all augmentations to these platforms or descriptions of platforms.” (Ex. B at ¶ 19.)

        30.    Power Integrations does not infringe any claim of the ’246 patent, at least, because

Power Integrations does not make, use, sell, offer to sell, or import any “battery-operated device”

which includes “a battery”, or “electronic circuitry configured to be powered by the battery,” as

recited in the independent claims of the ’246 patent.

        31.    Power Integrations also does not infringe any claim of the ’246 patent, at least,

because Power Integrations does not make, use, sell, offer to sell, or import any “battery chargers

and adapters”, including the “National Products RAM Tough-Case Power Delivery Bundle for

Samsung Tab Active3” which, on information and belief, is a product of a company completely

unrelated to Power Integrations. Even if the reference to this specific product is an error on the

part of the Waverly-PI Complaint, Power Integrations is also not in the business of providing

battery chargers or adapters – Power Integrations is a chip company which designs, makes and

sells integrated circuits.

        32.    Even if the Waverly-PI complaint is interpreted to accuse Power Integrations’

actual products, such as the InnoSwitch3-PD, Power Integrations also does not infringe any

claim of the ’246 patent, at least, because the InnoSwich3-PD is not, nor does it include, a

“battery-operated device” or provide “a method for charging a battery-operated device” as

recited in the independent claims of the ’246 patent. More specifically, the InnoSwitch3-PD

does not include “a battery”, “electronic circuitry configured to be powered by the battery,” or “a

converter configured to receive energy from any of a plurality of authorized chargers.” Nor is

the InnoSwitch3-PD “a charger”, it cannot be configured to “receive a charger identification




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from a charger”, and it does not meet any of the other limitations of the “battery-operated

device” recited in the independent claims of the ’246 patent.

       33.    The Waverly-PI Complaint in fact fails to identify any specific battery-operated

device, or even a charger or adapter, which allegedly incorporates a Power Integrations

InnoSwitch3-PD chip. Because the InnoSwitch3-PD cannot be used, and is not intended by

Power Integrations to be used, to implement a battery-operated device or provide a method of

charging a battery operated device, having the limitations as recited in the independent claims of

the ’246 patent, Power Integrations also cannot indirectly infringe.

       34.    Power Integrations is entitled to a declaration pursuant to 28 U.S.C. § 2201 stating

that Power Integrations does not infringe, directly or indirectly, any claim of the ’246 patent

either literally or under the doctrine of equivalents.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Power Integrations requests the following relief:

       (a)     judgment that Power Integrations has not infringed, and does not infringe, directly

or indirectly, any claim of the ’246 patent, either literally or under the doctrine of equivalents;

       (b)     costs and reasonable attorneys’ fees incurred in connection with this action

pursuant to 35 U.S.C. § 285; and

       (c)     such other and further relief as the Court finds just and proper.

                                         JURY DEMAND

       Plaintiff Power Integrations requests trial by jury.




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Dated: December 22, 2022     FISH & RICHARDSON P.C.

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